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`
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


Doctors Nursing and                           )
Rehabilitation Center, LLC, et                )
al.,                                          )
                                              )
                     Plaintiffs,              )
                                              )
                                              )
      v.                                      )    No.    1:16-cv-9837
                                              )    No.    1:16-cv-9842
Felicia F. Norwood, in her                    )    No.    1:16-cv-9922
official capacity as the                      )    No.    1:16-cv-10255
Director of Illinois Department               )    No.    1:16-cv-10614
of Healthcare and Family                      )    No.    1:17-cv-104
Services,                                     )    No.    1:17-cv-640
                                              )    No.    1:17-cv-1750
                     Defendant,               )
                                              )
and related cases.                            )



                        Memorandum Opinion and Order

      In these related actions, several healthcare providers and

their patients sue Felicia Norwood, Director of the Illinois

Department of Healthcare and Family Services (“HFS”), in her

official capacity, seeking declaratory and injunctive relief for

violations      of    Title   XIX   of    the          Social   Security   Act    (the

“Medicaid Act”) and its implementing regulations, the Americans

with Disabilities Act (“ADA”), the Rehabilitation Act, and the

Fourteenth     Amendment.     Before     me       is    plaintiffs’   motion     for   a

preliminary injunction requiring defendant Norwood to process
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Medicaid    applications          and     to    provide      Medicaid        benefits       with

reasonable promptness in accordance with the Medicaid Act and

timeliness standards set by federal regulations. [Case No. 1:16-

cv-9837, ECF. No. 14]. For the reasons that follow, I grant

plaintiffs’ motion to the extent described below.

                                               I.

     Medicaid        is      an     optional,             cooperative         federal-state

healthcare      program    for      providing        medical       assistance        to    needy

individuals.      Wilder     v.     Va.    Hosp.       Ass’n.,      496      U.S.    498,    502

(1990).    If    a   state    elects           to    participate        in    the     Medicaid

program,   as    Illinois         has,    it    must      create    a   state       plan    that

complies with the Medicaid Act and federal regulations. Id. In

Illinois, the Department of Healthcare and Family Services is

responsible      for      supervising          and     administering           the     state’s

Medical    Assistance      program.        305      ILCS    §§     5/2-12(3),        5/5-1    et

seq.; see 42 U.S.C. § 1396a(a)(5).

     These      related      cases        concern          Illinois’s         provision       of

Medicaid benefits and the timeliness requirements for approving

and providing such benefits. Plaintiffs in these matters are

residents (“patient plaintiffs”) of twenty-four hour, long-term

nursing care facilities who seek long-term care benefits under

Illinois’s      state     Medicaid        plan      and    the   healthcare          providers

(“facilities” or “institutional plaintiffs”) that operate these

nursing facilities. The patient plaintiffs fall into two major

                                                2
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categories: (1) those who are awaiting Medicaid or long-term

care   eligibility     determinations,           and   (2)    those     who,    despite

receiving approval, are still awaiting long-term care benefits.

       Plaintiffs bring suit against Felicia Norwood, the Director

of HFS, in her official capacity, because, they allege, she has

failed    to   process     plaintiffs’          Medicaid     applications       and   to

provide     Medicaid       benefits      with      reasonable     promptness,          as

required by the Medicaid Act and its implementing regulations.

According to plaintiffs, HFS violates the regulatory timeliness

requirements whenever it takes longer than ninety days to make a

benefit eligibility determination and whenever it takes longer

than twelve months to process and furnish payment for Medicaid

benefits.      Plaintiffs         additionally         assert     that        defendant

Norwood’s      inaction     violates      the      ADA,    Section      504     of    the

Rehabilitation      Act,    and    the    Equal     Protection     Clause       of    the

Fourteenth Amendment.

       Plaintiffs    ultimately          seek     injunctive     and     declaratory

relief    to    compel      defendant’s         future     compliance         with    the

regulatory time limits for determining applicant eligibility and

processing      claims.     In    the     interim,        they   seek    preliminary

injunctive relief because, they assert, the patient plaintiffs

require the twenty-four hour nursing care they are currently

receiving, have no means of paying for it, and are now in danger

of losing it. See, e.g., Reis Decl. ¶¶ 3-5, 9 [Doc. No. 35-3];

                                           3
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Hart Decl. ¶¶ 3-5, 9 [Doc. No. 35-5]; Crowder Decl. ¶¶ 3-5, 9

[Doc.       No.    35-6].      They       seek   preliminary       relief     to    prevent

irreparable harm to these individuals.

          On August 22 and 23, 2017, the parties presented evidence

in    a    hearing      on     plaintiffs’         preliminary     injunction       motion.

Plaintiffs        called      five       witnesses:   Christopher      Ries,       the    vice

president         of   Carlyle       Health      Center    and   St.    Vincent’s         Home

(“Carlyle”), who gave testimony concerning five of the patient

plaintiffs        in    Case       No.    16-cv-9842;      Donna    Passini,       business

office      manager      of     Regency       Care    of   Morris      (“Morris”),         who

testified about fifteen patient plaintiffs in Case No. 17-cv-

640; Lisa Gordon, collections manager for Heritage Enterprises

(“Heritage”),          who    presented       evidence     regarding    twelve       of   the

named       plaintiffs        in     Case    No.     16-cv-10614;1     Gail        McGinnis,

collection director for Petersen Healthcare (“Petersen”), who

gave testimony concerning thirty-one Petersen residents who are


1
  In a June 23, 2017, order, I certified a class of residents in
Case No. 16-cv-10614 according to the following definition:
     All disabled and/or medically needy persons who
     require long term care at a skilled nursing facility
     and are residing at a skilled nursing facility managed
     and operated by Heritage Operations Group, LLC, who
     are eligible for Medicaid and who submitted Medicaid
     applications and either 1) have not received a
     determination on their application by Defendant within
     forty-five days of submitting their application, or 2)
     who were approved for Medicaid benefits, and who have
     not received payment for their nursing care within
     twelve months of the date that benefits were approved
     to begin.
                                                 4
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plaintiffs in Case No. 16-cv-9922; and Kayla Klauser, director

of accounting at Sunset Home (“Sunset”), who presented evidence

concerning      three    patient      plaintiffs     in    Case       No.   17-cv-104.2

Together, plaintiffs’ witnesses presented testimony and hundreds

of     pages    of     documents      in   support        of     sixty-six     patient

plaintiffs’ claims.

       Defendant called two witnesses. HFS’s Manager of Policy and

Rules     for   the    Bureau   of    Long-Term    Care        Janene   Brickey   gave

testimony about a chart she compiled (Defendant’s Exhibit 1)

with data she gathered from the state’s Medicaid databases about

the patient plaintiffs’ application statuses. Defendant’s other

witness, Mark McCurdy, the Acting Bureau Chief of the Bureau of

Long-Term       Care,      discussed       another        demonstrative        exhibit

(Defendant’s         Exhibit    2),    which   compiles         the     state’s   data

concerning long-term benefit claims it has paid.3 Although these

witnesses both gave testimony concerning information they had

personally gathered from the state’s electronic databases, both

2
   Plaintiffs did not call witnesses or present evidence
concerning three of the captioned cases: Doctors Nursing &
Rehab. Ctr., Case No. 16-cv-9837, Lexington Health Care Ctr.,
Case No. 16-cv-10255, and Generations Rock Island, Case. No. 17-
cv-1750. I will assume that this is because plaintiffs no longer
seek preliminary injunctive relief in these matters.
3
  Defendant moved to enter both demonstrative exhibits into
evidence pursuant to F.R.E. 1006. Although plaintiffs’ counsel
had not been afforded an opportunity to examine the underlying
data, she explained that she had no reason to believe the
exhibits inaccurately represented the information in the state’s
databases. Instead, she argued the witnesses had no personal
knowledge of the underlying facts of each applicant’s case.
                                           5
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admitted that they could not speak from personal knowledge as to

any     particular      plaintiff.      They    could    only    speak    to    the

information contained in the state’s databases, not how that

information arrived there.

       Of the patient plaintiffs discussed at hearing, plaintiffs

assert that twenty-one4 of them have not received Medicaid or

long-term care eligibility determinations despite applying for

benefits more than ninety days ago. To support these claims,

plaintiffs offered the testimony described above, and, in most

cases,       documentation     showing     application     dates,     information

requests, and any other status updates plaintiffs received. At

the hearing, defendant disputed the status of many of these

applications and offered explanations for the delay with respect

to the others. She identified two applicants – A. Hanks and L.

DeChausse – as deceased.5 She also indicated that five applicants

– C. Gleason, D. Katner, C. Marcoux, D. Cargnoni, and H. Mahair

– were recently approved. The other fifteen patient plaintiffs

in    this    group    have    either    had   their    applications      denied,6




4
   Plaintiffs actually presented evidence regarding twenty-two
applicants but then informed the court that they received a
denial notice for R. Lake’s application on August 23, 2017.
5
     Plaintiffs’ evidence indicates that F.J. Rush is also
deceased.
6
  These individuals are B. Ostermueller, R. Lynes, F. Stroud, B.
Noel, A. Martinez, J. Watson, S. Vogel, R. Gilbertson, and C.
Doss.
                                          6
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canceled,7 or sent to HFS’s Office of Inspector General (“OIG”)

for    review,8    according       to    defendant.    Conversely,    plaintiffs

contend    that   several     denied      applications    were   reopened,    that

several    purported      denial    or    cancellation     notices   were    never

received,     that   at   least     one    applicant     had   multiple   pending

applications, and that regulatory time limits were not reset by

OIG’s involvement.

      The remaining forty-four patient plaintiffs discussed at

the evidentiary hearing are those who, plaintiffs argue, have

not had their claims for long-term care benefits promptly paid

in the twelve months permitted by regulations. Based on the

evidence presented at hearing, it appears that at least eleven,

and perhaps thirteen, of these plaintiffs are now deceased.9

Another eight of the individual plaintiffs identified do not

have any pending claims for services older than twelve months.10

Excluding these groups, plaintiffs have presented testimony and

documents showing that at least twenty-seven patient plaintiffs

in this category have been approved for Medicaid full coverage

7
   The three purportedly canceled applications were for D. James,
M. Urban, and B. Lawrence.
8
   According to defendant, OIG is currently reviewing applications
for G. Ostermueller at Carlyle and F.J. Rush at Heritage.
9
   The deceased plaintiffs are S. York, E. Kuchar, D. Pogliano, P.
Schmidt, E. Buckley, D. Rose, D. Frazier, E. Elliott, R.
Biggins, W. Kaufman, and S. Wrone. Plaintiffs’ hearing documents
also suggest that R. Hess and R. McGrew may have also passed
away.
10
    These individuals are A. Blunt, D. Burkhart, H Choudin, K.
Reitz, P. Fawbush, R. Brinkley, O. Ishmael, and W. Suckrach.
                                           7
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or long-term care benefits or both, and have unpaid claims for

service      periods    more     than    twelve    months       old.    According       to

plaintiffs’       evidence,       some    of      these   individuals           received

approval      notices    more    than    twelve    months    ago       and    are    still

awaiting payment for services predating approval.11 Others have

received      approval      notices      more     recently,       but        still     have

unprocessed claims for service periods more than a year old.12

       In response, defendant elicited testimony concerning the

differences      between    the    Medicaid     eligibility       process       and    the

process for approving an applicant’s long-term care benefits.

Defendant      also    offered    testimony     about     the    changes       in    claim

processing that have taken place in the last year. According to

Mr. McCurdy, claims for long-term care services performed before

December 1, 2016, cannot be paid until a beneficiary is approved

and added to a facility’s roster. Hr’g Tr. vol. 2, 50-54 (Aug.

23,     2017).    For    these     pre-December       2016      services,        HFS    is

responsible for generating the actual claims for payment based

on the information it has in its system. Id. HFS then processes

these claims and sends them to the Illinois Comptroller’s office

for payment. Claims for benefits after December 1, 2016, on the

11
   This group includes D. Virkler, N. McKinzie, D. Simpson, M.
Steffan, W. Toufexis, W. Taylor, D. Anderson, M. Grasseschi, J.
Icenogle, V. Lane, L. Morgan, A. Turner, A. Winters, C. Merry-
Azimi, E. Smith, and R. Strickle-Solin.
12
   These eleven individuals are R. Dragon, J. Adkins, D. Hall, B.
Kroll, S. Case, R. Pursell, T. Mercier, C. Mondy, M. VanWinkle,
L. Koehler, and G. Fathauer.
                                           8
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other hand, are left to healthcare providers to generate and

submit       to    HFS.    Id.   Finally,         through      Mr.     McCurdy,      defendant

provided some information in Defendant’s Exhibit 2 concerning

payments that have been made for certain members of this group

awaiting          benefits.      Comparing             this    information          with    the

plaintiffs’ evidence, however, it appears there are still claims

pending for most of these individuals.

                                                 II.

        To    determine      whether        a    moving       party    is    entitled      to   a

preliminary injunction, courts evaluate whether the party has

demonstrated: (1) a likelihood of success on the merits; (2) a

likelihood that he will “suffer irreparable harm in the absence

of preliminary relief”; (3) “that the balance of the equities

tips in his favor”; and (4) "that an injunction is in the public

interest.” Winter v. Nat’l Res. Def. Council, 555 U.S. 7, 20

(2008); see also Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6,

11-12    (7th      Cir.    1992).     A     court       deciding      whether   to    grant     a

preliminary injunction “weighs all four factors ... seeking at

all   times        to   minimize      the       costs    of   being     mistaken.”      Abbott

Labs.,       971    F.2d    at   12       (internal       quotation         marks    omitted).

Because these considerations are “interdependent,” a court may

determine that a greater showing as to one factor may lessen the

showing needed for another. Judge v. Quinn, 612 F.3d 537, 546

(7th Cir. 2010).

                                                  9
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       In the instant actions, plaintiffs move for a preliminary

injunction    addressing       individual    patient     plaintiffs     in    seven

related     cases    and   a   class   of    approximately      three    hundred

patients in a related class action. Because the claims in these

cases are the same, I will examine the preliminary injunction

factors for both categories of claims – pending applications and

pending payments – generally.

       A. Likelihood of Success on the Merits

         To show that preliminary injunctive relief is appropriate,

plaintiffs must demonstrate that they are likely to succeed on

the merits of their claims. The threshold for this requirement

is low. D.U. v. Rhoades, 825 F.3d 331, 338 (7th Cir. 2016)

(citing Michigan v. U.S. Army Corps of Eng’rs, 667 F.3d 765, 782

(7th Cir. 2011)). To satisfy their burden, plaintiffs “must show

that [they have] a ‘better than negligible’ chance of success on

the merits of at least one of [their] claims.” Girl Scouts of

Manitou Council, Inc. v. Girl Scouts of U.S. of Am., Inc., 549

F.3d 1079, 1096 (7th Cir. 2008) (quoting Ty, Inc. v. Jones Grp.,

Inc., 237 F.3d 891, 897 (7th Cir. 2001)). If plaintiffs can show

that   they   have   at    least   “some    likelihood    of   success       on   the

merits,” they will meet this threshold requirement. Stuller, Inc.

v. Steak N Shake Enterprises, Inc., 695 F.3d 676, 678 (7th Cir.

2012).



                                       10
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     Plaintiffs of course argue that they are likely to succeed

on all of their claims, but, for present purposes, I assess the

likelihood that they will succeed on their section 1983 claims

alleging violations of the Medicaid Act’s reasonable promptness

requirement,       the   cause    of   action    at     the        center    of   these

lawsuits.    According     to    plaintiffs,    defendant          has    violated   42

U.S.C. § 1396a(a)(8), which requires state Medicaid agencies to

“provide that all individuals wishing to make application for

medical assistance under the plan shall have opportunity to do

so, and that such assistance shall be furnished with reasonable

promptness to all eligible individuals.” Plaintiffs argue — and

I agree — that section 1396a(a)(8) creates enforceable rights

that may be pursued through section 1983 actions. See Mem. Op. &

Order [Doc. No. 50] at 17 (June 7, 2017). To prevail on these

section     1983    claims,      plaintiffs     will        need    to    prove    that

defendant Norwood, in her capacity as HFS Director, has deprived

them of their rights to reasonably prompt Medicaid eligibility

determinations and benefits pursuant to section 1396a(a)(8).

     Defining      “reasonable      promptness”        is    key     to     determining

whether section 1396a(a)(8) has been violated. The accompanying

federal   regulations      provide     some   clarity.        In    the     eligibility

determination       context,     the   regulations           require      that    state

Medicaid agencies establish certain timeliness and performance

standards for processing Medicaid applications. See 42 C.F.R. §

                                        11
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435.912. These mandatory timeliness standards permit agencies no

more than ninety days to determine the eligibility of applicants

who apply for Medicaid on the basis of disability and forty-five

days to determine the eligibility of all other applicants. 42

C.F.R. § 435.912(c)(3). Because all plaintiffs in these cases

applied based on disability, only the ninety-day requirement is

involved. Hr’g Tr., vol. 1, at 6 (Aug. 22, 2017). According to

the regulations, these timeliness requirements “cover the period

from the date of application ... to the date the agency notifies

the applicant of its decision.” 42 C.F.R. § 435.912(c)(1). In

other words, after a Medicaid applicant submits an application,

a state agency may take no more than ninety days to notify the

applicant,       or   the   applicant’s     designated         recipient,13   of   the

agency’s       eligibility      determination       in     order     to    meet    the

reasonable        promptness      requirement.14         The     only     permissible


13
    Pursuant to the Medicaid regulations, an applicant may
“designate an individual or organization to act responsibly on
[his] behalf in assisting with [his] application and renewal of
eligibility and other ongoing communications with the agency.”
42 C.F.R. § 435.923(a)(1). Applicants may authorize their
representatives to perform various Medicaid-related tasks,
including receiving copies of notices and other communications
from the state agency. 42 C.F.R. § 435.923(b)(3). Pursuant to 42
C.F.R. § 435.917, state agencies “must provide all applicants
and beneficiaries with timely and adequate written notice of any
decision affecting their eligibility, including an approval,
denial, termination or suspension of eligibility, or a denial or
change in benefits and services.”
14
   At hearing, the parties disagreed about the state agency and
the applicant’s respective burdens regarding the collection of
information needed to determine eligibility. The federal
                                          12
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exceptions       to    these     timeliness         standards   are    for    “unusual

circumstances,” which include instances where an agency cannot

reach     a    determination         because        an    applicant    or    examining

physician fails to take a required action, or where there is an

emergency “beyond the agency’s control.” 42 C.F.R. § 435.912(e).

     Defendant argues that these timeliness standards apply only

to initial determinations of Medicaid eligibility and not to

decisions      regarding       the   provision       of   specific    benefits     under

state healthcare programs like long-term care benefits. Despite

defendant’s contentions, the regulations do not appear to carry

this limitation. According to 42 C.F.R. § 435.911, a regulatory

section       implementing      42    U.S.C.    §    1396a(a)(8)      as    well   as   §

1396a(a)(10)(A), which requires the provision of skilled nursing

services       to     eligible       individuals,         Medicaid    agencies      must

“promptly and without undue delay consistent with [the section

435.912] timeliness standards ... furnish Medicaid to eligible



regulations permit the state agency to “accept attestation of
information needed to determine the eligibility of an individual
for   Medicaid   ...   without  requiring   further  information
(including documentation) from the individual.” 42 C.F.R. §
435.945(a). State Medicaid agencies are required to request
financial information from other state agencies and to check
federal electronic databases for required information. 42 C.F.R.
§§ 435.948-435.949, 435.956. The agency must promptly evaluate
information gathered to determine its effect on eligibility. 42
C.F.R. § 435.952(a). The agency must not require an individual
to provide additional information or documentation “unless
information needed by the agency ... cannot be obtained
electronically or the information obtained electronically is not
reasonably compatible.” 42 C.F.R. § 435.952(c).
                                           13
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individuals” who submit applications for benefits. 42 C.F.R. §

435.911(c)(1); see also 42 C.F.R. § 435.930 (“The agency must—

(a) Furnish Medicaid promptly to beneficiaries without any delay

caused by the agency's administrative procedures; (b) Continue

to furnish Medicaid regularly to all eligible individuals until

they are found to be ineligible....”). If Medicaid benefits must

be promptly furnished to eligible individuals consistent with

the timeliness standards, then it stands to reason that state

agencies        must     also     render        long-term    care     eligibility

determinations within ninety days of the date of application for

these benefits.

        With respect to the provision of benefits, the regulations

also impose requirements for the timely processing of Medicaid

claims for payment. Pursuant to 42 C.F.R. § 447.45(d),15 state

agencies must pay all Medicaid claims within twelve months of

the     date    of     receipt.   Plaintiffs      contend    that,    under    this

regulation, any unpaid claims for service dates more than twelve

15
   It should be noted that 42 C.F.R. § 447.45 implements 42
U.S.C. § 1396a(a)(37), a section of the Medicaid Act not at
issue in this lawsuit. These provisions focus on processing
provider claims, rather than providing services to individuals.
However, because 42 U.S.C. § 1396a(a)(8) requires that “medical
assistance” be “furnished with reasonable promptness” and 42
U.S.C. § 1396d(a) defines “medical assistance” as “payment of
part or all of the cost of the following care and services or
the care and services themselves, or both,” I will analyze
section 447.45’s timely processing requirements, which concern
payments for medical assistance, as part of HFS’s reasonable
promptness obligation. Defendant has not disputed section
447.45’s applicability.
                                           14
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months       old      violate         the   reasonable          promptness          requirement.

Defendant       conversely            argues    that    the     agency’s       payment     window

does not expire until twelve months after a claim is received.

To    this     point,       plaintiffs         respond       that,    under       HFS’s   payment

system,      only      HFS      can    generate       claims        for    services   predating

December 1, 2016. Starting the twelve-month payment window from

the date HFS receives a claim that only HFS can generate would

permit the agency to indefinitely delay the delivery of Medicaid

benefits,       plaintiffs            argue.     Because       providers       are    unable   to

submit actual claims for long-term care services before December

1,     2016,     it    is       appropriate       to     count       the    claim     processing

timeline not from the date the agency generates a claim, but

from the date it receives notice of the request for payment.16

This     way,      “any      delay      caused    by     the     agency's         administrative

procedures” will be resolved against the defendant, rather than

beneficiaries.             42   C.F.R.      §    912.930.       Thus,       for    purposes    of

determining which patient plaintiffs have claims that have been

pending for more than twelve months, I will consider the date of

services        to    be     the      operative    date        so    long    as     the   patient

plaintiff        had       an      application         for     long-term       care       services

approved or pending for more than ninety days at the time of

16
   The federal regulations clearly contemplate a process where
providers are able to submit claims for payment. See 42 C.F.R.
§447.45(d)(1) (imposing time limits on providers submitting
claims); 42 C.F.R. §447.45(d)(4)-(5) (calculating agency payment
time limits from “the date the agency receives the claim”).
                                                 15
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those services that would have put the agency on notice of the

claim.

       In   sum,   a   violation      of   section   1396a(a)(8)’s     reasonable

promptness requirements may be shown when an application for

Medicaid or long-term care eligibility has been pending for more

than   ninety      days   or   when    a   claim     for   payment   for   medical

assistance goes unpaid for more than twelve months after the

agency has notice, as described above. If any of the individual

plaintiffs in these cases can show either type of delay, then

they will pass the threshold inquiry because they have “a better

than negligible chance” of succeeding on at least one of their

claims. Girl Scouts, 549 F.3d at 1096. Likewise, if the named

plaintiffs in Heritage can make either of these showings, it may

be appropriate to preliminarily enjoin defendant’s conduct as to

the Heritage class.

       At   hearing,      plaintiffs        provided       enough    evidence     to

demonstrate that they have at least some likelihood of success

on these section 1983 claims for certain plaintiffs. I begin

with a few examples from the group of patient plaintiffs still

awaiting     eligibility       determinations.        G.    Ostermueller    is    a

plaintiff in Carlyle Healthcare Ctr., 16-cv-9842. According to

plaintiffs’ evidence, Mr. Ostermueller applied for benefits on

March 25, 2016. As of the hearing on August 22, 2017, he had not

received an eligibility determination. In other words, he has

                                           16
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waited seventeen months for a determination. This is far beyond

the ninety days permitted by 42 C.F.R. § 435.912. Defendant

submits that Mr. Ostermueller’s case is pending with the OIG,

but nothing in the regulations authorizes an extension of the

eligibility        determination      time       limits    for       OIG     review.   The

defendants have not submitted evidence of any delay caused by

plaintiffs that would qualify for an exception under 42 C.F.R. §

435.912(e).        Mr.   Ostermueller       therefore      has       demonstrated      some

likelihood of success on his claim.17

        Other plaintiffs with pending applications include D. Jones

from Sunset Home, 17-cv-104, and J. Watson from Morris, 17-cv-

640. Plaintiffs presented evidence at hearing that Ms. Jones

applied      for   Medicaid    on    June    2,    2016,       and    that    Mr.    Watson

applied a month later on July 6, 2016. Plaintiffs’ witnesses

testified that neither Jones nor Watson had received eligibility

determination        notices    as   of     the    August       22,    2017,       hearing.

Defendant’s        demonstrative     exhibits       indicate         that    Ms.    Jones’s

application was canceled for some unknown reason and that Mr.

Watson’s       application     was    denied       as     of    November       2016.    The

17
   The one other application identified as pending with the OIG
is for named plaintiff F.J. Rush from the Heritage class.
Although it was not addressed at hearing, it appears from
plaintiffs’ documents that Ms. Rush has been deceased since May
2017. Preliminary injunctive relief would thus be inappropriate
for this individual. As she is the only Heritage class
representative with a pending application claim, plaintiffs will
need to substitute another named plaintiff to make preliminary
injunctive relief appropriate for this subclass.
                                            17
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timeliness          requirements,      however,    apply      from     the    date    of

application         until   the   date    an    applicant   is    notified      of   the

agency’s decision. 42 C.F.R. § 435.912(c)(1). Because there is

no evidence that D. Jones, J. Watson, and others18 were ever

notified of the agency’s determination, it is possible that they

may prevail on their section 1983 claims.

        Finally, there is another group of patient plaintiffs who,

although they received determinations, assert that their cases

have since been “reopened,” thus resetting the ninety-day clock.

For two of these individuals, F. Stroud and R. Lynes, plaintiffs

have not shown that their cases were reopened. In another case,

that     of    B.    Ostermueller,       the    application      was   reopened      too

recently to show a violation of the ninety-day time limit. There

is one individual, however, B. Noel, who, after receiving a

denial in January of 2017, requested that her case be reopened

and      has    since       received     several    requests         for     additional

information from defendant’s agents. These subsequent requests

suggest that defendant reopened the case in January of 2017. If

HFS is treating Ms. Noel’s application as open, the timeliness

standards in 42 C.F.R. § 435.912 apply.




18
   This includes A. Maritnez, S. Vogel, M. Urban, and B.
Lawrence. R. Gilbertson is not included in this group because
plaintiffs’ documents indicate that he received a determination
in January 2017.
                                           18
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        Because the plaintiffs discussed above have waited, in many

cases,      far      more   time   than     is     permitted      by     the   Medicaid

regulations to receive the Medicaid determinations and benefits

to which they claim to be entitled, they have at least some

likelihood          of   showing   that     defendant     Norwood        has   violated

section 1396a(a)(8) of the Medicaid Act by failing to render

eligibility determinations in her capacity as the director of

HFS.

        Plaintiffs also presented enough evidence to demonstrate a

likelihood          of   succeeding    on    the      other      group    of     patient

plaintiffs’ section 1983 claims, those concerning the failure to

promptly provide long-term care benefit payments. As discussed

above, I evaluate these claims based on the date of services, so

long as the agency had notice at the time of the services,

because testimony revealed that providers were unable to submit

claims before December 1, 2016. In my review of plaintiffs’

evidence,       I    find   twenty-seven         individuals19    who     have    unpaid

claims for services that are more than twelve months old. All of

these individuals applied for long-term benefits more than one

19
   Heritage, 16-cv-10614: (1) R. Dragon, (2) J. Adkins, (3) D.
Hall, (4) B. Kroll, (5) S. Case, (6) R. Pursell, (7) D. Virkler,
(8) N. McKinzie, and (9) W. Taylor. Petersen, 16-cv-9922: (10)
D. Simpson, (11) M. Steffan, (12) W. Toufexis, (13) T. Mercier,
(14) C. Mondy, (15) M. VanWinkle, (16) L. Koehler, (17) G.
Fathauer, (18) D. Anderson, (19) M. Grasseschi, (20) J.
Icenogle, (21) V. Lane, (22) L. Morgan, (23) A. Turner, (24) A.
Winters, (25) C. Merry-Azimi, and (26) E. Smith. Morris, 17-cv-
640: (27) R. Strickle-Solin.
                                            19
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year ago, have since been approved for these benefits, and have

not yet received the medical assistance that is due for service

periods the agency has been aware of for twelve months or more.

Because the agency has had notice of these medical assistance

claims     for   longer     than        the    timeliness           requirements       allow,

defendant Norwood’s delay in paying arguably violates Medicaid’s

reasonable promptness requirement.

     At    the     evidentiary        hearing,       defendant         provided        various

explanations for the delays in processing claims. Some claims

are waiting to be paid by the Illinois Comptroller’s office, and

some claimants have not had their long-term care eligibility

processed until recently. These circumstances, however, do not

negate    the    evidence      that     the    medical         assistance       that    these

individuals have been approved to receive has not been furnished

with reasonable promptness.

     In addition to her individualized explanations for delays

in claim processing, defendant raises another more fundamental

concern in her response brief that, in her view, prevents these

patient    plaintiffs       from      prevailing          on   the     merits     of    their

claims.    As    she   argued      in    her       motion      to    dismiss,     defendant

Norwood    asserts     that,    at      bottom,      plaintiffs        seek     retroactive

payments    from     the   state,       which       are    barred      by   the    Eleventh

Amendment. Defendant is correct that the Eleventh Amendment bars

claims    for    retroactive       money      damages       against     the     state.     See

                                              20
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Edelman v. Jordan,            415 U.S. 651, 663 (1974);                   BT Bourbonnais

Care, LLC v. Norwood, No. 16-3655, 2017 WL 3392101, at *6 (7th

Cir. Aug. 8, 2017); McDonough Assocs., Inc. v. Grunloh, 722 F.3d

1043, 1050 (7th Cir. 2013). As I explained in my June 7, 2017,

memorandum          opinion   and    order      [Doc.      No.    50],        however,     the

Eleventh       Amendment      does    not       preclude      claims         against     state

officials      for     prospective,        injunctive      relief       to    stop     ongoing

violations of federal law. See Ex Parte Young, 209 U.S. 123,

159-60       (1908).    Indeed,      in    such    cases,     a       federal      court   may

require a state officer to prospectively comply with federal

law, even when that compliance might require the state to expend

funds. See Milliken v. Bradley, 433 U.S. 267, 289-90 (1977);

Antrican v. Odom, 290 F.3d 178, 185 (4th Cir. 2002) (“But simply

because       the    implementation        of   such    prospective           relief     would

require the expenditure of substantial sums of money does not

remove a claim from the Ex Parte Young exception.”). The focus

must be “whether the injunctive relief sought is prospective or

retroactive in nature.” Antrican, 290 F.3d at 186; see Zych v.

Wrecked Vessel, 960 F.2d 665, 669 (7th Cir. 1992) (“Edelman

holds       that    courts    may   command       public    officials         to    obey   the

Constitution and federal statutes as they carry out their duties

in    the    future     but   may    not    direct     them      to    invade      the   state

treasury to make good for past misdeeds.”).



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        Plaintiffs       here       are    seeking     equitable    relief        requiring

defendant    Norwood        to      process      applications    and     furnish     timely

benefits.        Although       defendant        has   attempted       to    characterize

plaintiffs’ requested relief as payment for past due services,

the actual violation that plaintiffs seek to correct is the

state’s ongoing failure to meet Medicaid’s timeliness standards.

Plaintiffs are not seeking to impose any new liabilities on the

state of Illinois; they seek only to force the state to provide

whatever     services            or       payments     are   due    with          reasonable

promptness.       This    requested          relief    closely   resembles         what   the

Tenth    Circuit     recognized            as    permissible     under      the    Eleventh

Amendment in Lewis v. New Mexico Dep't of Health, 261 F.3d 970

(10th     Cir.     2001),       a     case      concerning   New   Mexico’s         delayed

provision of Medicaid waiver services. There the court affirmed

a district court’s order denying a motion to dismiss on Eleventh

amendment grounds. The court held:

        The plaintiffs in the case before us clearly seek
        prospective equitable relief: they ask that state
        officials be compelled to comply with federal statutes
        that allegedly entitle them to the reasonably prompt
        provision of waiver services. They are not, for
        example, asking to be reimbursed for past home or
        community-based services. The relief sought simply
        requires that officials conform their future actions
        to federal law ... and any effect on the state
        treasury is, therefore, ancillary.

Lewis, 261 F.3d at 977–78 (10th Cir. 2001) (omitting internal

quotation marks and citations). Because the Lewis plaintiffs’


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requested injunctive relief concerned the state’s future conduct

with respect to timeliness, it was sufficiently prospective to

fit within the Ex Parte Young exception.

        Similarly,      plaintiffs’          request        to   enjoin     defendant

Norwood’s future processing of long-term care benefit claims is

sufficiently forward-looking. Plaintiffs have identified ongoing

violations of the Medicaid Act and its implementing regulations

by providing evidence of claims that have remained pending for

greater than twelve months. While the Eleventh Amendment does

not permit a damages award against the state for these past due

payments, this court, acting within the limits of the Ex Parte

Young     exception,         can     craft        injunctive     relief     compelling

defendant Norwood’s future compliance with Medicaid timeliness

standards.

        B. Irreparable Harm

        To show irreparable harm, a moving party must demonstrate

that, absent preliminary relief, she will suffer an injury that

cannot be later rectified with “compensatory or other corrective

relief.” Sampson v. Murray, 415 U.S. 61, 90 (1974). Litigants

will    not    meet    the    standard       for    irreparable      harm   if   “money

damages could make [them] whole again should [they] prevail”

after a trial. Rhoades, 825 F.3d at 339. If moving parties,

however,      can    show    that    without       preliminary   injunctive      relief

they    will    be    denied       necessary      medical    care,   then    they   may

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demonstrate that they lack an adequate remedy at law and stand

to suffer irreparable injury. See Bontrager v. Indiana Family &

Soc. Servs. Admin., 697 F.3d 604, 611 (7th Cir. 2012); O.B. v.

Norwood, 170 F. Supp. 3d 1186, 1196 (N.D. Ill. 2016), aff’d, 838

F.3d 837 (7th Cir. 2016).

        The evidence before me reflects that patient plaintiffs all

have     significant       outstanding      balances       at     the     nursing      care

facilities where they are residing, and that they cannot afford

to pay for the care they are receiving. See, e.g., Reis Decl. ¶¶

3-5    [Doc.   No.     35-3];   Crowder     Decl.     ¶¶    3-5   [Doc.        No.    35-6].

Meanwhile, the institutional plaintiffs state that they can no

longer continue to provide care without payment. Reis Decl. ¶ 9;

Crowder Decl. ¶ 9. Plaintiffs argue that in these circumstances,

the patient plaintiffs face the threat of discharge, and that a

preliminary injunction is appropriate because if they are in

fact discharged and the nursing care they require is terminated,

damages will not make them whole for the harms that will result.

        Defendant      responds     that    plaintiffs       have       not    adequately

shown     that      the    nursing       homes      are     taking       steps        toward

involuntarily discharging the patient plaintiffs. Because they

have    not,   defendants       argue,     the   plaintiffs       have        an   adequate

remedy    at     law    available    in     state    court.       It    is     true     that

plaintiffs       have     not   asserted     that     the       nursing       homes     have

initiated the process of discharging the patients who are in

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arrears. But this is not necessary. What is needed is a showing

that plaintiffs face irreparable harm if forced to wait for

post-trial       relief.    Plaintiffs        have      met    this     requirement        by

providing       affidavits      from     several         representatives           of     the

institutional plaintiffs. According to these sworn statements,

the facilities cannot continue to foot the patient plaintiffs’

medical      bills   indefinitely.       It       is   fair    to     infer   from      these

statements that, without preliminary relief, patient plaintiffs

may soon face discontinuation of their long-term care services.

Potential termination of necessary medical care is enough to

establish a risk of irreparable injury.20 See Bontrager, 697 F.3d

at 611; Beltran v. Myers, 677 F.2d 1317, 1322 (9th Cir. 1982);

O.B. v. Norwood, 170 F. Supp. 3d at 1196. This is not a risk to

which these elderly and disabled patients should be subjected.

        C. Balance of Equities and the Public Interest

        Finally,     plaintiffs       must    show      that    the    balance     of     the

equities tips in their favor and that an injunction is in the

public interest. Winter, 555 U.S. at 20. “During the balancing

phase of the preliminary injunction analysis, the goal of the

court is to choose the course of action that minimizes the costs

of     being   mistaken.”      Girl    Scouts,         549    F.3d    at   1100.     Courts

therefore “compare the potential irreparable harms faced by both

20
   Obviously, claims on behalf of deceased plaintiffs cannot
satisfy the irreparable harm requirement and will therefore not
be included in any preliminary injunctive relief.
                                             25
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parties to the suit — the irreparable harm risked by the moving

party in the absence of a preliminary injunction against the

irreparable        harm    risked       by     the       nonmoving        party      if    the

preliminary        injunction     is   granted”          —   to    determine      where    the

greater      potential     harm      lies.        Id.    Courts      weigh     the    public

interest by evaluating the “consequences of granting or denying

the injunction to non-parties.” Abbott Labs., 971 F.2d at 12.

        Here, defendant Norwood merges her balance of equities and

public      interest      arguments.         She    argues        that    a    preliminary

injunction would disserve the public interest and harm the state

of      Illinois     because      it     would          risk      improper     eligibility

determinations and would place further strain on the “already

tenuous” state budget. Def.’s Op. at 16-17 [Case No. 1:16-cv-

9837, ECF. No. 37].           Plaintiffs counter that the public interest

weighs in favor of the patient plaintiffs, who are elderly and

disabled        Illinois       residents,           receiving         the      eligibility

determinations and timely benefits to which they claim they are

entitled while this case is pending. A preliminary injunction,

plaintiffs argue, will require the defendant to do only what the

law already requires her to do.

        Plaintiffs     have    the     better      argument.        The   public     has    an

interest in ensuring that Medicaid eligible individuals promptly

receive      necessary     medical     services.          This,     after     all,   is    why

Medicaid exists. Illinois elected to participate in the Medicaid

                                             26
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program and to accept federal funds for the purpose of providing

medical assistance to its needy citizens. There is a public

interest in making sure the state’s designated Medicaid agency

complies with federal law. These interests are not outweighed by

any ancillary impact this preliminary relief may have on the

state’s      budget.      Bontrager,      697    F.3d   at    611    (“The    State's

potential budgetary concerns are entitled to our consideration,

but do not outweigh the potential harm to [plaintiff] and other

indigent individuals, especially when the State's position is

likely in violation of state and federal law.”).

       Weighing all of these factors together, I find that the

plaintiffs are entitled to preliminary injunctive relief.

                                          III.

       For    the   foregoing       reasons,      plaintiffs’        motion   for     a

preliminary injunction is granted in part. Defendant Norwood is

hereby    ORDERED      to   determine      eligibility       for    certain   patient

plaintiffs’ Medicaid or long-term care applications that have

been   pending      for     more   than    ninety   days      and    to   notify    the

applicants or their authorized representatives by October 16,

2017. This includes all applications for A. Martinez, S. Vogel,

J. Watson, B. Noel, G. Ostermueller, D. Jones, M. Urban, and B.

Lawrence. I will not grant plaintiffs’ request for presumptive

eligibility. This was appropriate in Smith v. Miller, 665 F.2d

172 (7th Cir. 1981), a statewide class action, as a means of

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avoiding continual monitoring. Id. at 180. That is not a concern

here where we are dealing with eight specific individuals.

     Defendant        Norwood       must   additionally         bring    HFS’s    claims

processing       procedures         into    compliance      with        42   U.S.C.     §

1396a(a)(8)’s reasonable promptness requirement and the timely

payment provisions of 42 C.F.R. § 447.45. Defendant Norwood is

hereby    ORDERED,      with     respect    to     the   twenty-seven        identified

patient    plaintiffs        and    the    Heritage      class,    to    prospectively

process claims for payment of services within twelve months of

having notice of those claims. Defendant will be deemed to have

notice either on (1) the date a claim is received or (2) for

claims    for    services      predating     December      1,   2016,    the     date   of

services,       so   long   as     the   patient   plaintiff      at    issue    had    an

application for long-term care services approved or pending for

more than ninety days at the time of those services that would

have put the agency on notice of the claim. The state must

provide     medical         assistance      to     eligible       individuals       with

reasonable promptness, and HFS’s own administrative delays may

not prevent timely payment of claims.

                                                 ENTER ORDER:




                                                 Elaine E. Bucklo
                                                 United States District Judge
Dated: September 1, 2017


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